                                Case 22-13983-PDR                     Doc 10          Filed 05/22/22              Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-13983-PDR
Annetta McCalla                                                                                                        Chapter 13
Curtis McNeal
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 20, 2022                                               Form ID: 309I                                                              Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 22, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Annetta McCalla, Curtis McNeal, 1251 NW 51 Ave, Lauderhill, FL 33313-6542
96591346               + TD Bank, PO BOX 1448, Greenville, SC 29602-1448

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: meetingofcreditors@ch13weiner.com
                                                                                        May 20 2022 22:46:00      Robin R Weiner, Robin R. Weiner, Chapter 13
                                                                                                                  Trustee, Post Office Box 559007, Fort Lauderdale,
                                                                                                                  FL 33355-9007
smg                    + Email/Text: swulfekuhle@broward.org
                                                                                        May 20 2022 22:45:00      Broward County Tax Collector, 115 S Andrews
                                                                                                                  Ave, Ft Lauderdale, FL 33301-1818
smg                       EDI: FLDEPREV.COM
                                                                                        May 21 2022 02:38:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallahassee, FL 32314-6668
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        May 20 2022 22:46:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
96591348               + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                        May 20 2022 22:46:00      Mr. Cooper, PO BOX 619094, Dallas, TX
                                                                                                                  75261-9094
96591347                  Email/Text: Bankruptcy.Notices@pnc.com
                                                                                        May 20 2022 22:46:00      PNC Bank, PO BOX 3180, Pittsburgh, PA 15222

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
96591349                       Franklin Credit Management Corporation, 101 Hudson St, Jersey City 307303

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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District/off: 113C-0                                             User: admin                                                            Page 2 of 2
Date Rcvd: May 20, 2022                                          Form ID: 309I                                                         Total Noticed: 8

Date: May 22, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 20, 2022 at the address(es) listed below:
Name                            Email Address
Office of the US Trustee
                                USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 2
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 Information to identify the case:

                        Annetta McCalla                                                            Social Security number or ITIN:   xxx−xx−1546
 Debtor 1:
                                                                                                   EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 Debtor 2:              Curtis McNeal                                                              Social Security number or ITIN:   xxx−xx−2479
 (Spouse, if filing)                                                                               EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 United States Bankruptcy Court:     Southern District of Florida                                  Date case filed for chapter:             13      5/20/22

 Case number:          22−13983−PDR
Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                                    About Debtor 1:                                                       About Debtor 2:
 1. Debtor's Full Name                              Annetta McCalla                                                       Curtis McNeal

 2. All Other Names Used
    in the Last 8 Years
                                                    1251 NW 51 Ave                                                        1251 NW 51 Ave
 3. Address                                         Lauderhill, FL 33313                                                  Lauderhill, FL 33313

       Debtor's Attorney                            Annetta McCalla                                                       Contact phone _____________
 4.    (or Pro Se Debtor)                           1251 NW 51 Ave
       Name and address                             Lauderhill, FL 33313

 5. Bankruptcy Trustee                              Robin R Weiner                                                        Contact phone 954−382−2001
       Name and address                             Robin R. Weiner, Chapter 13 Trustee
                                                    Post Office Box 559007
                                                    Fort Lauderdale, FL 33355

 6. Bankruptcy Clerk's                                                                                                    Hours open 8:30 a.m. − 4:00 p.m.
                                                    Federal Building
    Divisional Office Where                         299 E Broward Blvd, Room 112
                                                                                                                          Contact phone (954) 769−5700
    Assigned Judge is                               Ft Lauderdale FL 33301
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.                      Note: Contact the Clerk's Office at the number
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal                        listed above or check the court's website for
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov                             reduced hours of operation for in−person
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the                        filings.
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department of
      Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal building
      or courthouse, must present a current, valid, government issued photo identification (e.g. drivers'                  Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                                  Dated: 5/20/22

 7. **MEETING OF CREDITORS**                                                                                                      *MEETING WILL BE HELD BY
      Debtors must attend the meeting to be June 22, 2022 at 03:00 PM                                                                   TELEPHONE*
      questioned under oath. In a joint case,
      both spouses must be present with        The meeting may be continued or adjourned                               Trustee: Robin R Weiner
      required original government−issued to a later date. If so, the date will be on the
      photo identification and proof of social court docket.                                                           Call in number: 877−506−8679
      security number (or if applicable, Tax                                                                           Participant Code: 6439599
      ID). Creditors may attend, but are not
      required to do so.
Local Form 309I USBC SDFL (6/14/2021)                       Notice of Chapter 13 Bankruptcy Case                                                        page 1
                            Case 22-13983-PDR                         Doc 10             Filed 05/22/22                   Page 4 of 4
Debtor Annetta McCalla and Curtis McNeal                                                                                    Case number 22−13983−PDR
8. Deadlines                        Deadline to file a complaint to challenge                                Filing deadline: 8/22/22
    The bankruptcy clerk's office   dischargeability of certain debts:
   must receive these
   documents and any required       You must file:
   filing fee by the following      • a motion if you assert that the debtors are
   deadlines. Writing a letter to      not entitled to receive a discharge under
   the court or judge is not           U.S.C. § 1328(f) or
   sufficient.                      • a complaint if you want to have a particular
                                       debt excepted from discharge under
                                       11 U.S.C. § 523(a)(2) or (4).
                                    Deadline for all creditors to file a proof of claim                      Filing deadline: 7/29/22
                                    (except governmental units):
                                    Deadline for governmental units to file a proof of                       Filing deadline: 11/16/22
                                    claim:

   When Filing Proofs of            Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,      www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the     might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all     schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via   deemed filed and need not be refiled.
                                    Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule        claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be         For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the       including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the         Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                    apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic     asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to         Deadline to Object to Exemptions:                                         Filing deadline:    30 days after the
   electronically file a proof of   The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                           exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                    Debtors must file a list of property claimed as exempt. If you                                within 30 days of any
                                    believe that the law does not authorize an exemption that the                                 amendment to the list
                                    debtors claim, you may file an objection.                                                     of supplemental
                                                                                                                                  schedules, unless as
                                    The bankruptcy clerk's office must receive the objection by                                   otherwise provided
                                    the deadline to object to exemptions.                                                         under Bankruptcy Rule
                                                                                                                                  1019(2)(B) and Local
                                                                                                                                  Rule 4003−1(B) for
                                                                                                                                  converted cases.

9. Filing of Plan and Hearing       The hearing on confirmation will be held on: 8/1/22 at 09:00 AM, by VIDEO CONFERENCE. You must register
   on Confirmation                  in advance no later than 3:00 PM, one business day before the hearing. To register, click on or enter the
                                    following registration link in a browser:
                                    https://www.zoomgov.com/meeting/register/vJItcOqurD4qHUbwAimENeAkZ7QUKGhcZ7k
                                    If the debtor filed a Chapter 13 Plan, it is included with this notice. If no Plan is filed, the Plan will be mailed to
   Deadline to Object to            ALL parties in accordance with Local Rule 2002−1(C)(5).
   Confirmation                     At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
                                    motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
                                    the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                    filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                    3015−3(B)(1).
   Attorney Fee Claims              Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.
10. Creditors with a Foreign        Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                         this case.

11. Filing a Chapter 13             Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                 according to a Plan. A Plan is not effective unless the Court confirms it. You may object to Confirmation of the
                                    Plan and appear at the Confirmation hearing. The Confimation hearing will be held on the date shown in box 9
                                    of this notice. The debtor will remain in possession of the property and may continue to operate the business, if
                                    any, unless the court orders otherwise.
12. Discharge of Debts              Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                    However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                    are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                    as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                    523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                    If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                    must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                    "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                    certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices       1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by          program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
                                    Receive Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
    Email Rather than U.S. Mail     9036−1(B) and (C).
14. Translating Services            Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                    trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                    U.S. Trustee's office to arrange for translating services at the meeting of creditors.
Local Form 309I USBC SDFL                      Notice of Chapter 13 Bankruptcy Case                                                       page 2
